Gary L. Blacklidge, OSB #902089
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JORDAN RAMIS PC
Two Centerpointe Dr., 6th Floor
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Telephone: (503) 598-7070
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Attorneys for Candace Amborn, Trustee

                          UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF OREGON

In re                                                Case No. 16-33185-pcm7

PETER SZANTO,                                        NOTICE OF AMENDED MOTION AND
                                                     CHAPTER 7 TRUSTEE’S AMENDED
                                                     MOTION FOR A FURTHER
               Debtor.                               CONTEMPT ORDER AGAINST THE
                                                     DEBTOR

                                             NOTICE

        If you oppose the proposed course of action or relief sought in this motion, you must file

a written objection with the bankruptcy court no later than 14 days after the date listed in the

certificate of service below. If you do not file an objection, the court may grant the motion

without further notice or hearing. Your objection must set forth the specific grounds for

objection and your relation to the case. The objection must be received by the clerk of court at

United States Bankruptcy Court District of Oregon, 1050 SW 6th Avenue # 700, Portland, OR

97204 by the deadline specified above or it may not be considered. You must also serve the

objection on Gary Blacklidge, Jordan Ramis PC, Two Centerpointe Drive, Lake Oswego, OR,

97035 (503-598-7070) within that same time. If the court sets a hearing, you will receive a

separate notice listing the hearing date, time, and other relevant information.




Page 1 – NOTICE OF AMENDED MOTION AND                                          JORDAN RAMIS PC
                                                                                 Attorneys at Law
         CHAPTER 7 TRUSTEE’S AMENDED MOTION                              Two Centerpointe Dr., 6th Floor
         FOR A FURTHER CONTEMPT ORDER                                     Lake Oswego, Oregon 97035
                                                                  Telephone: (503) 598-7070 Fax: (503) 598-7373
         AGAINST THE DEBTOR
                                                                            54568-77749 4839-1693-4087.3

                     Case 16-33185-pcm7          Doc 1011      Filed 08/19/20
                                            MOTION

       Candace Amborn, the Chapter 7 Trustee in this case and the successor trustee herein

(hereinafter “Trustee”), moves for an order finding the Debtor in contempt because the debtor (1)

violated, and continues to violate, the Contempt Order (Doc 590) by refusing to sign the

Authorization to Disclose Financial Records directed to HSBC Bank, as modified, and the

Account Fund Transfer forms with HSBC Bank Singapore, Ltd. and HSBC Bank Australia, Ltd.,

that were attached thereto; (2) refused to comply with this court’s order of December 5, 2017

(the “Conversion Order”); and (3) continues to interfere with the Trustee’s duties including

opposing the Trustee’s application to domesticate the Contempt Order in Singapore and the

Trustee’s attempts to recover the funds and information in Singapore easily obtained had the

Debtor signed the documents this Court ordered him to sign. For her Motion, the Trustee relies

upon 11 USC §521(a)(3) and (4), 11 USC §105, and this court’s Order Granting Motion for

Contempt (Doc. 533), filed as (Doc. 590) (the “Contempt Order”). The Trustee also relies upon

the declaration of the Trustee submitted herewith.

                                  FACTUAL BACKGROUND

       The factual background prior to the entry of the Contempt Order is as stated in the prior

Trustee’s contempt motion (Doc. 533) and is realleged here and incorporated by reference.

Following entry of the Contempt Order, the Debtor refused to sign the exhibits this Court

ordered the Debtor to sign. Instead of bringing this issue back to this Court, the prior Trustee

and counsel for HSBC Bank abated the adversary proceeding against HSBC Bank while the

Contempt Order was to be domesticated in Singapore, ostensibly to simply obtain the

cooperation from the Singapore Court. Despite that, the Singapore Court continues to address



Page 2 – NOTICE OF AMENDED MOTION AND                                         JORDAN RAMIS PC
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                     Case 16-33185-pcm7         Doc 1011      Filed 08/19/20
the ongoing representations and appearances by the Debtor in Singapore contesting the Trustee’s

actions to administer the assets in Singapore.

       Despite Debtor’s representations to this court and US District Court that the Debtor is

destitute and penniless, the Debtor has appeared in person in Singapore several times over the

last year and intervened in the Singapore proceeding alleging defenses, including that the trustee

is attempting to adjudicate the Debtor as a bankrupt under Singapore law, that the Debtor has

perfected an appeal of the Conversion Order to the Ninth Circuit, and that the funds on deposit

in Singapore are his and his spouse’s community property despite having been previously ruled

against on that issue in this case more than once. The Debtor has never complied with the Pre-

filing Review Order issued by the Ninth Circuit against the Debtor in 2017. In addition, the

Debtor has engaged in several approaches to slowing the Singapore proceedings. For example,

the Debtor continues to seek extensions to the hearing dates set by the Singapore court for

various reasons, including that he must attend his “auntie’s” 100th birthday in Israel and then

serve his annual three-week duty in the Israeli Defense Force (“IDF”).

       At the same time, the Debtor filed his motions with the Singapore court, the Debtor was

filing motions in US District Court in Portland for extensions of time to file appellate briefs and

replies alleging that he “barely has enough money for food, soap, medicine and other basic

necessities of life.” He has further repeatedly represented in filings in this Court that he is

terminally ill. Yet, despite being 70+ years old and purportedly terminally ill, the Debtor alleges

he must serve his duty in the IDF and that he is unable to call in to the Singapore court for a

virtual hearing. In the meantime, some of the extension dates that he has requested for his filings

in the US District Court are during the period of time he is allegedly serving his three-week duty

for the IDF. The Debtor’s representations are all a matter of record here and in both the District

Page 3 – NOTICE OF AMENDED MOTION AND                                           JORDAN RAMIS PC
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                     Case 16-33185-pcm7           Doc 1011      Filed 08/19/20
Court in Portland and the court filings in the Singapore case. However, most of this would not

have ever occurred had the Debtor complied with the Contempt order and signed the documents

he was ordered to sign.

                                         JURISDICTION

       This Court has jurisdiction over this matter pursuant to 28 USC §157 and 28 USC §1334.

This Motion constitutes a core proceeding within 28 USC §157 as this matter constitutes a

request for further contempt for violation of the Contempt Order previously issued, the

Conversion Order, and for blatantly and vigorously opposing the Trustee’s efforts to fulfill her

duties under 11 USC §704.

                                     RELIEF REQUESTED

       The Trustee requests entry of an Order pursuant to Section 521(a)(3) and (4) and Section

105 of the Bankruptcy Code holding the Debtor in further contempt for failing to comply with

the Contempt Order and for interfering with the Trustee’s duties including the Debtor’s past and

continuing efforts to preclude the Trustee’s efforts to fulfill her duties under Section 704 of the

Bankruptcy Code.

                                 POINTS AND AUTHORITIES

       The Trustee hereby realleges and restates the points and authorities set forth in the

Motion for Contempt filed two years ago by the prior Trustee as DOC. 533. The Contempt

Order specifically provides on page 2, line 3-6, that the Trustee may bring this matter before the

Court on further motion for contempt for the Debtor’s failure to comply with the Contempt

Order and Conversion Order if the Debtor refuses to sign and deliver the Authorization and

Consent forms that were attached to the Contempt Order. The Debtor has refused and never

complied. Moreover, the Debtor continues to interfere and oppose the Trustee’s efforts to

Page 4 – NOTICE OF AMENDED MOTION AND                                          JORDAN RAMIS PC
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                     Case 16-33185-pcm7          Doc 1011      Filed 08/19/20
domesticate this Court’s orders in Singapore in violation of his statutory duties and this Court’s

prior orders. This Court has the authority pursuant to 11 USC §105 to issue any order “that is

necessary or appropriate to carry out the provisions of this title”. The Ninth Circuit Court of

Appeals has recognized that bankruptcy courts have the inherent power to sanction vexatious

conduct presented before the court. In re Rainbow Magazine, Inc., 77 F.3rd 278 (9th Cir 1996).

                                         CONCLUSION

        The Debtor is aware of the Contempt Order. The Debtor continues to refuse to sign the

documents he was ordered to sign. The Trustee has expended thousands of dollars to achieve

that which would have cost very little had the Debtor complied with the terms of the Contempt

Order. Despite that the Trustee requests that the Court determine the nature and extent of the

monetary damages that should be leveled against the Debtor, the Trustee believes that monetary

sanctions alone will not deter this Debtor. Therefore, the Trustee requests that this Court issue a

further order of contempt against the Debtor (a) enjoining him from further interference with

Trustee’s proceeding in Singapore to domesticate this Court’s orders, and (b) declaring that all

actions taken by the Debtor in violation of this Court’s orders are deemed void, including all

actions taken in opposition to the actions of the Trustee in the Singapore court. Finally, the

Trustee seeks issuance of a warrant for the Debtor’s arrest by the United States Marshals Service

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Page 5 – NOTICE OF AMENDED MOTION AND                                         JORDAN RAMIS PC
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                     Case 16-33185-pcm7         Doc 1011      Filed 08/19/20
and for his incarceration pending his execution of the documents he was to have executed or the

completion of the administration of this bankruptcy case or both.

       DATED this 19th day of August, 2020.

                                           JORDAN RAMIS PC



                                           By: /s/ Gary L. Blacklidge
                                               Gary L. Blacklidge, OSB #902089
                                               Attorneys for Candace Amborn, Trustee




Page 6 – NOTICE OF AMENDED MOTION AND                                        JORDAN RAMIS PC
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                    Case 16-33185-pcm7         Doc 1011      Filed 08/19/20
                                CERTIFICATE OF SERVICE

       I hereby certify that on the date shown below, I electronically filed the

foregoing NOTICE OF AMENDED MOTION AND CHAPTER 7 TRUSTEE’S

AMENDED MOTION FOR A FURTHER CONTEMPT ORDER AGAINST THE

DEBTOR with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to the following:

VIA ECF NOTICE
 Peter Szanto                                     U.S. Trustee
 11 Shore Pine                                    US Trustee, Portland
 Newport Beach CA 92657                           620 SW Main St #213
        Pro Se                                    Portland, OR 97205

       I also certify the document and a copy of the Notice of Electronic Filing was served via

First Class Mail on the following non-CM/ECF participants:

VIA FIRST CLASS MAIL
 Peter Szanto
 11 Shore Pine
 Newport Beach CA 92657
        Pro Se

       DATED: August 19, 2020.

                                                        /s/ Gary L. Blacklidge
                                                        Gary L. Blacklidge, OSB #902089
                                                        gary.blacklidge@jordanramis.com




Page 7 – CERTIFICATE OF SERVICE                                               JORDAN RAMIS PC
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                     Case 16-33185-pcm7         Doc 1011      Filed 08/19/20
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the date shown below, I electronically filed the

foregoing DECLARATION OF CANDACE AMBORN IN SUPPORT OF MOTION FOR

FURTHER CONTEMPT ORDER AGAINST THE DEBTOR with the Clerk of the Court

using the CM/ECF system which will send notification of such filing to the following:

VIA ECF NOTICE
 Peter Szanto                                        U.S. Trustee
 11 Shore Pine                                       US Trustee, Portland
 Newport Beach CA 92657                              620 SW Main St #213
        Pro Se                                       Portland, OR 97205

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        Pro Se

       DATED: August 19, 2020.

                                                         /s/ Gary L. Blacklidge
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                    Case 16-33185-pcm7          Doc 1011      Filed 08/19/20
